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                                                         Defendant’s Motion to Dismiss [ECF 7]
                                      Hearing Date and Time: November 18, 2020; 11:00 a.m. EST
                                                               Reply Deadline: October 27, 2020

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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------x
In re:                                                         :    Case No. 20-11254-JLG
                                                               :
LATAM Airlines Group S.A., et al.,                             :    Chapter 11
                                                               :
         Debtors.                                              :    Jointly Administered
---------------------------------------------------------------x
TM Solutions USA LLC,                                          :
                                                               :
         Plaintiﬀ,                                             :
                                                               :
v.                                                             :    Adv. Pro. No. 20-01207-JLG
                                                               :
LATAM Airlines Group S.A.,                                     :
                                                               :
         Defendant.                                            :
---------------------------------------------------------------x


    PLAINTIFF’S RESPONSE TO DEFENDANT LATAM AIRLINES GROUP S.A.’S
           MOTION TO DISMISS THE CLASS ACTION COMPLAINT
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       Plaintiﬀ TM Solutions USA LLC (“TM Solutions”) respectfully submits this Response in

opposition to Defendant LATAM Airlines Group S.A.’s (“LATAM”) Motion to Dismiss the Class

Action Complaint, and states the following:

                                        INTRODUCTION

       In this class action adversary proceeding, TM Solutions asks the Court to enjoin LATAM

from enforcing its No-Show Policy, under which LATAM intentionally and as a matter of policy

cancels tickets for ﬂights that consumers already paid for, without their consent, in order to resell

them and enrich itself—all at the expense of consumers left stranded at airports, scrambling to buy

last-minute, high-priced ﬂights in other airlines.

       LATAM’s “no-show” scheme is plainly unjust. It is diﬃcult to argue otherwise. LATAM

gets to collect twice; consumers receive nothing: not the ﬂight out, not the ﬂight back. je plaintiﬀ

in this action is not asking for something diﬃcult or extraordinary. TM Solutions requests that

LATAM meet its part of the bargain and ﬂy consumers who have paid for ﬂights; that before re-

selling a seat a consumer intends to use, LATAM seek consent from that consumer who paid for

that seat. It would be very easy to obtain a consumer’s consent. In the digital era, large institutions

routinely request consumers’ consent by simply sending a text message: “If you are going to use

your inbound ﬂight, reply 1” or “If you are not going to use your inbound ﬂight, reply 2.”

       jis case reﬂects, however, that LATAM has no interest in obtaining consent. Even when

a TM Solutions agent took the time to let LATAM know that it was not going to use the outbound

ﬂights, LATAM still cancelled its return ﬂights. LATAM would rather have consumers pay more

expensive ﬂights with itself or else cancel the entire route. All in all, TM Solutions paid $2,280 to

LATAM (for which it received nothing) and an additional $2,366 to other airlines to get its agents

to and from their destination. On these facts, LATAM alleges that TM Solutions “received the




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value of its bargained-for exchange.”

       LATAM justiﬁes this unjust scheme by claiming it is an “industry standard.” However,

being the standard does not equate to being just or lawful. Segregation in schools was the standard

before Brown v. Board of Education. je ERISA ﬁnancial abuse litigation landscape changed with

Tibble v. Edison Int’l. Put simply, the unfair standard of cancelling ﬂights a consumer intends to

use should not be the norm. jis is especially true when airlines do not lose any money by not

cancelling ﬂights but rather save in fuel costs. Not being able to make double on a seat should not

be a good enough reason to leave consumers stranded in airports.

       TM Solutions’ Class Action Complaint asserts counts against LATAM for declaratory

judgment, violation of the Montreal Convention, unjust enrichment, and violation of the Florida

Deceptive and Unfair Trade Practices Act. LATAM moves to dismiss TM Solutions’ Complaint,

arguing that TM Solutions has failed to state a claim. However, the facts alleged in the Complaint

easily state a claim under any of the theories advanced by TM Solutions. TM Solutions’ claims

are also not preempted by federal law, as posited by LATAM.

       Despite LATAM’s insinuations of impropriety, TM Solutions has brought this class action

as a proper adversary proceeding seeking equitable relief to protect future customers from harm.

In a last-ditch eﬀort to avoid liability, LATAM also attempts to enforce an arbitration agreement

to which it is neither a party nor an intended beneﬁciary and that does not apply to this dispute. In

short, LATAM has failed to carry its burden in seeking dismissal of TM Solutions’ Complaint.

                                  FACTUAL BACKGROUND

       In February 2020, TM Solutions purchased two roundtrip tickets with LATAM on the route

LIM-MIA-LIM for Pedro Egusquiza (“Egusquiza”) and Andres Guerrero (“Guerrero”). Compl.,

¶11. TM Solutions paid $2,280 for Egusquiza and Guerrero’s tickets. Id., ¶12. Realizing that the




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outbound ﬂights had been inadvertently purchased for the wrong date, a TM Solutions employee

attempted to change their itinerary, but was told by BudgetAir that replacement tickets were around

$1,800 and that she should call LATAM directly to solve the problem. Id., ¶13. LATAM, in turn,

told her to call BudgetAir back, saying it was BudgetAir the one that had to solve the problem. Id.,

¶14. Because of the useless back-and-forth between LATAM and BudgetAir and the high price of

replacement ﬂights (about 2.5 times what American Airlines charged), TM Solutions purchased

alternate ﬂights for Egusquiza and Guerrero in American Airlines for $420 each. Id., ¶16.

       Although LATAM was aware of Egusquiza and Guerrero’s plans, LATAM still cancelled

their return tickets. Id., ¶17. When Egusquiza and Guerrero attempted to check in for their return

ﬂight, they were not able to do so because LATAM had cancelled their entire roundtrip due to its

No-Show Policy. Id., ¶21. TM Solutions was then forced to buy return ﬂights for Egusquiza and

Guerrero, who were stranded in Miami, in another airline for $1,526. Id., ¶23. TM Solutions’

situation is similar to hundreds, if not thousands, of customers whose return ﬂights are cancelled

every day by LATAM because of its No-Show Policy.

                                      LEGAL STANDARD

       A motion to dismiss for failure to state a claim upon which relief can be granted under Fed.

R. Civ. P. 12(b)(6), made applicable to adversary proceedings by Fed. R. Bankr. P. 7012(b), can

only be granted if it “appears beyond doubt that the plaintiﬀ can prove no set of facts in support of

his claim which would entitle him to relief.” In re Cole Assocs., Inc., 7 B.R. 154, 156 (Bankr. D.

Utah 1980). When ruling on a motion to dismiss, the bankruptcy court “must not only accept all

factual allegations as true but [it] must draw all reasonable inferences in the plaintiﬀ’s favor as

well.” In re Maxwell Newspapers, Inc., 189 B.R. 282, 290 (Bankr. S.D.N.Y. 1995).




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                                                ARGUMENT

    I.    Plaintiﬀ’s Claim Under the Montreal Convention

          je Convention for the Uniﬁcation of Certain Rules for International Carriage by Air (the

“Montreal Convention”) updated and replaced the uniform system of liability for international air

carriers previously established by the Warsaw Convention. See Ehrlich v. Am. Airlines, Inc., 360

F.3d 366, 371 n.4 (2d Cir. 2004). Article 19 of the Montreal Convention governs claims arising

from delay in international air transportation. LATAM claims that TM Solutions fails to state a

claim under Article 19 of the Montreal Convention. Mem.1, p.4. LATAM argues that “Article 19

simply does not apply to claims based on an airline’s refusal to transport a customer.” Id., p.5.

          LATAM characterizes the claims of TM Solutions and all other putative class members as

sounding in non-performance, rather than delay. LATAM argues such claims fall outside the scope

of Article 19. Undersigned counsel has not found any precedent on point regarding the application

of the Montreal Convention to the scenario where an airline cancels ﬂights for which it has already

been paid due to a “no-show” policy, which results in customers having to secure other ﬂights to

arrive at their destinations late. It seems, however, to be a case more akin to non-performance than

delay. jerefore, TM Solutions withdraws Count II against LATAM.

    II.   Plaintiﬀ’s Claim for Unjust Enrichment

          A. Plaintiﬀ Suﬃciently States a Claim for Unjust Enrichment

          Under Florida law,2 an unjust enrichment claim has three elements: “ﬁrst, the plaintiﬀ has

conferred a beneﬁt on the defendant; second, the defendant voluntarily accepted and retained that

beneﬁt; and, ﬁnally, the circumstances are such that it would be inequitable for the defendants to


1
    “Mem.” refers to LATAM’s Memorandum of Law in support of its Motion to Dismiss [ECF 8].
2
  LATAM’s memorandum claims to discuss only Florida law. TM Solutions’ position is that “there are no true conﬂicts
(i.e., case-dispositive diﬀerences) among the various states’ unjust enrichment laws.” Compl., ¶58.


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retain the beneﬁt without paying for it.” City of Miami v. Bank of Am. Corp., 800 F.3d 1262, 1287

(11th Cir. 2015). TM Solutions has suﬃciently alleged all three elements. LATAM only disputes

the third element. LATAM argues “it is not inequitable for LATAM to retain the fare paid for

Plaintiﬀ’s ﬂights.” Mem., p.6. LATAM’s sole basis for this argument is its No-Show Policy, which

LATAM claims allows it to retain the money it obtained from TM Solutions and other putative

class members, even though it did not provide the services paid for by that fare. LATAM’s attempt

to shield itself from liability by means of an unfair—and likely illegal—contract provision must

not be entertained by the Court.

        je decision in Catullo v. Air France, 2009 WL 1054150 (Conn. Super. Ct. Mar. 19, 2009),

is instructive. In Catullo, the plaintiﬀs purchased four roundtrip business class tickets to ﬂy on Air

France. Id., at *1. When they attempted to check in, they were turned away by Air France because

they had not arrived two hours before the scheduled departure, as required by Air France’s rules.

Id. je plaintiﬀs’ tickets were cancelled, not only for the departure ﬂights but also for the return

ﬂights. Id. When Air France cancelled the tickets, those seats became available for purchase again.

Id. Rather than allow the plaintiﬀs to board on the ﬂight that they had already paid for—which had

not departed—Air France forced them to buy new tickets on a later ﬂight, while at the same time

making their seats on the original ﬂight available for sale to others. Id. je court found that Air

France was unjustly enriched at the plaintiﬀs’ expense because it had sold to them four additional

tickets, while still having the ﬁrst four tickets available for purchase. Id. at *2.

        Here, similarly, TM Solutions purchased two roundtrip tickets to ﬂy on LATAM. Compl.,

¶11. When Egusquiza and Guerrero attempted to check in, they were not able to do so because

LATAM had cancelled their entire roundtrip due to its No-Show Policy. Id., ¶21. TM Solutions

was then required to purchase additional roundtrip tickets on another airline. Id., ¶23. Rather than




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allowing Egusquiza and Guerrero to board on a ﬂight that had already been paid for and that had

not departed, LATAM forced them to ﬁnd alternate arrangements while at the same time making

their seats available for sale to others.

        Just as in Catullo, this Court should ﬁnd that LATAM was unjustly enriched by its actions,

notwithstanding its No-Show Policy. See also Enomoto v. Space Adventures, Ltd., 624 F. Supp.

2d 443, 459 (E.D. Va. 2009) (allegation that company accepted and retained payments for tourist’s

participation in extra-vehicular activity in space and that company failed to provide such service

was suﬃcient to state a claim for unjust enrichment).

        It should also be noted that TM Solutions is challenging LATAM’s No-Show Policy under

the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”). Plaintiﬀs in Florida have been

allowed to plead an unjust enrichment claim against airlines when the airfare was obtained through

deceptive and unfair practices. See, e.g., Donoﬀ v. Delta Air Lines, Inc., 2019 WL 9091763, at *9

(S.D. Fla. July 9, 2019) (“Plaintiﬀs’ allegations that Delta has created and maintained a deceptive

‘pass-through’ scheme suﬃces to show unjust enrichment at the pleading stage”); Dolan v. JetBlue

Airways Corp., 385 F. Supp. 3d 1338, 1352 (S.D. Fla. 2019) (“it would be inequitable for [JetBlue]

to retain the money because it obtained the money through alleged deceptive acts”); Zamber v.

Am. Airlines, Inc., 282 F. Supp. 3d 1289, 1301 (S.D. Fla. 2017) (same).

        LATAM also argues that “Plaintiﬀ cannot state a claim for unjust enrichment under Florida

law because there was a contract between Plaintiﬀ and Defendant.” Mem., p.6. Under Florida law,

an unjust enrichment claim can exist “only if the subject matter of that claim is not covered by a

valid and enforceable contract.” In re Managed Care Litig., 185 F. Supp. 2d 1310, 1337 (S.D. Fla.

2002). However, TM Solutions has alleged that LATAM’s No-Show Policy is unconscionable and

unenforceable. Compl., ¶43. Since an unenforceable contract cannot preclude a claim for unjust




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enrichment and LATAM has not shown that its contract with TM Solutions and the putative class

members is enforceable, TM Solutions has suﬃciently stated a claim for unjust enrichment. See

In re Takata Airbag Prod. Liab. Litig., 193 F. Supp. 3d 1324, 1344-45 (S.D. Fla. 2016) (consumer

suﬃciently asserted unjust enrichment claim, even though written warranties existed that covered

subject of litigation, where consumer alleged warranties were unconscionable and unenforceable).

       B. Plaintiﬀ’s Claim for Unjust Enrichment Is Not Preempted

       LATAM also asserts that TM Solutions’ claim for unjust enrichment is preempted by the

Airline Deregulation Act (“ADA”). Under the ADA, a state “may not enact or enforce a law,

regulation, or other provision having the force and eﬀect of law related to a price, route, or service

of an air carrier.” 49 U.S.C. §41713(b)(1). LATAM alleges that “claims related to airline refunds

self-evidently fall within the scope of ADA preemption.” Mem., p.7. However, TM Solutions’

claim is not about refunds, nor is TM Solutions challenging LATAM’s right to charge a particular

fare for a particular route. TM Solutions’ claim is about LATAM’s unjust enrichment under a

deceptive and unconscionable No-Show Policy. Such a claim is not preempted by the ADA. See

Brown v. United Air Lines, Inc., 656 F. Supp. 2d 244, 249 (D. Mass. 2009) (state law class action

claim for unjust enrichment was not preempted since plaintiﬀs did not challenge airline’s right to

charge fees or amount of fees but only deceptive manner of charging fee).

       LATAM also argues that TM Solutions’ claim for unjust enrichment is preempted “because

such a claim is based on state law obligations.” Mem., p.7. In the case Am. Airlines, Inc. v. Wolens,

513 U.S. 219 (1995), the Supreme Court determined that the ADA’s preemption provision does

not foreclose suits alleging a breach of the carrier’s “own self-imposed undertakings” as these do

not constitute a “violation of state-imposed obligations.” Id. at 228. Further deﬁning what may

constitute a “state-imposed obligation,” the Supreme Court later explained that “the reasoning of




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Wolens neither dooms nor spares” all claims based in state common law. Nw., Inc. v. Ginsberg,

572 U.S. 273, 285 (2014).

        In Ginsberg, the Court concluded that a cause of action for breach of the covenant of good

faith and fair dealing was preempted by the ADA. Id. at 276. je Court found it determinative that

the duty of good faith and fair dealing applied to “every contract” under the governing state law.

Id. at 287-8. On the other hand, “[t]he doctrine of unjust enrichment does not synonymously apply

to all contracts as a matter of state policy.” Solo v. United Parcel Serv. Co., 819 F.3d 788, 798 (6th

Cir. 2016). Rather, it serves to “eﬀectuate the intentions of parties or to protect their reasonable

expectations,” and thus looks to the particular parties to a transaction rather than a universal, state-

imposed obligation. Id.

        Here, TM Solutions and other putative class members had a reasonable expectation that

LATAM would provide ﬂights for which they had already paid. When LATAM fails to provide

such ﬂights while retaining the money, a claim for unjust enrichment arises. As the claim alleges

a breach of LATAM’s “own self-imposed undertakings” rather than a “violation of state-imposed

obligations,” TM Solutions’ unjust enrichment claim is not preempted by the ADA.

  III. Plaintiﬀ’s Claim Under the Florida Deceptive and Unfair Trade Practices Act

        A. Plaintiﬀ’s Claim Under FDUTPA Is Not Preempted

        LATAM contends that TM Solutions’ claim under FDUTPA is also preempted by the ADA

because “LATAM’s No-Show Policy directly concerns the rates that an airline charges.” Mem.,

p.8. “While the rates of air carriers are currently free from regulation, their practices are not.”

Bailey v. Rocky Mountain Holdings, LLC, 889 F.3d 1259, 1268 (11th Cir. 2018). As mentioned

above, TM Solutions is not challenging LATAM’s right to charge any particular rate. What TM

Solutions is challenging is LATAM’s deceptive and unfair scheme of cancelling ﬂights for which




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it already has received full payment under an unconscionable and unenforceable No-Show Policy

and then reselling cancelled tickets to enrich themselves at the expense of unsuspecting consumers.

         It is not entirely clear—and LATAM does not explain—how requiring LATAM to honor

the tickets it issues would aﬀect, if at all, the rates it charges. In any case, “[d]etermining whether

Plaintiﬀ’s claims have an impermissible eﬀect on [LATAM’s] prices or services is an inherently

factual question; evidence is required to determine whether and how Plaintiﬀ’s claim would have

such an eﬀect.” Zamber, 282 F. Supp. 3d at 1302. jerefore, such a determination is premature at

the motion to dismiss stage. Id.

         B. Plaintiﬀ Suﬃciently States a Claim Under FDUTPA

         To state a claim under FDUTPA, TM Solutions “must allege (1) a deceptive act or unfair

trade practice; (2) causation; and (3) actual damages.” Dolan, 385 F. Supp. 3d at 1350-51. Here,

TM Solutions has properly alleged all three elements.

         A practice is deceptive under FDUTPA if “there is a representation, omission, or practice

that is likely to mislead the consumer acting reasonably in the circumstances, to the consumer’s

detriment.” Harrison v. Lee Auto Holdings, Inc., 295 So.3d 857, 862 (Fla. Dist. Ct. App. 2020).

LATAM states its No-Show Policy is not deceptive because it is allegedly “clearly disclosed in

LATAM’s Transport Agreement, which customers receive notice of upon purchase of the ticket.”

Mem., pp.8-9. As LATAM concedes, consumers are not aware of the terms and conditions of the

Transport Agreement imposed on them, including the No-Show Policy, until after they purchase a

ﬂight.3 As one court put it, “[i]t is not reasonable . . . to permit a carrier to accept payment and



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  LATAM claims that TM Solutions was “on notice of LATAM’s terms and conditions based on its purchase through
BudgetAir, even if it did not actually review the Transport Agreement.” Mem., p.9 n.5. However, a passing reference
within a hyperlink in BudgetAir’s website to the possible existence of “additional terms and conditions” does not put
a reasonably prudent consumer on notice of the actual terms contained in LATAM’s Transport Agreement. See Specht
v. Netscape Commc’ns Corp., 306 F.3d 17, 32 (2d Cir. 2002) (“a reference to the existence of license terms on a
submerged screen is not suﬃcient to place consumers on inquiry or constructive notice of those terms”).


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thereafter issue a ticket severely limiting passenger’s legal rights while at the same time advising

the passenger that the monies paid will not be returned under any circumstances.” McTigue v.

Regal Cruises, Inc., 1998 WL 191430, at *2 (S.D.N.Y. Apr. 22, 1998). In such situations, “there

is no amount of legal ﬁction that can support the conclusion that the passenger voluntarily agreed

to accept the conditions set forth in the ticket when he entered the contract.” Id.

       Even if the Court ﬁnds LATAM’s practices are not deceptive, there is no question they are

unfair to consumers. An unfair practice is one that “oﬀends established public policy” and one that

is “immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers.” Webber

v. Bactes Imaging Sols., Inc., 295 So.3d 841, 844 (Fla. Dist. Ct. App. 2020). LATAM argues that

TM Solutions has “failed to plead that the No-Show Policy is not outweighed by countervailing

beneﬁts to consumers.” Mem., p.9. However, the Complaint is clear that LATAM’s practices oﬀer

no beneﬁts to consumers. LATAM gouges the price for changing ﬂights in such a way that forces

consumers to purchase ﬂights with other airlines when they cannot make one leg of their roundtrip

reservation. Compl., ¶68. When consumers miss one leg of their roundtrip reservation, LATAM

cancels the entire reservation. Id., ¶71. LATAM then resells ﬂights that were already paid for by

the class members and that the class members intended to use. Id., ¶69. je only party that beneﬁts

from the No-Show Policy is LATAM.

       LATAM also claims that consumers “can avoid any injury caused by the No-Show Policy

by simply ﬂying each of the segments in the itinerary, or else modifying the itinerary as necessary.”

Mem., p.9. LATAM ignores the realities of life; that sometimes consumers cannot “simply ﬂy” as

originally planned. For example, if a consumer were involved in a car accident on his way to the

airport, which caused him to miss his outbound ﬂight, LATAM’s position is that this consumer is

bound by the No-Show Policy and it will cancel his return ﬂight. LATAM’s argument that this




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hypothetical consumer could have avoided his injury (i.e., the loss of his return ﬂight) by “simply

ﬂying each of the segments in the itinerary” is clearly untenable. As the Complaint makes clear,

“modifying the itinerary as necessary” is also not an option to many passengers because LATAM

charges exorbitant prices for replacement ﬂights. See Compl., ¶¶13, 68.

        Finally, LATAM argues that TM Solutions “has not suﬀered actual damages under the

FDUTPA.” Mem., p.9. LATAM claims that TM Solutions “received the value of its bargained-for

exchange.” Id., p.10. jis is certainly not the case. TM Solutions paid $2,280 for Egusquiza and

Guerrero’s roundtrip tickets. Compl., ¶12. When LATAM cancelled these tickets due to its unfair

No-Show Policy, TM Solutions received less than what it expected. TM Solutions also had to pay

$1,526 for ﬂights from Miami to Lima when it realized that LATAM had cancelled the tickets. Id.,

¶23. When TM Solutions was forced to pay again to secure a service which LATAM was already

bound to provide, TM Solutions did not receive the value of its bargained-for exchange. LATAM,

on the other hand, always receives its side of the bargain: either by ﬂying with an already-paid-for

empty seat (and saving in fuel costs), or by reselling such a seat and making double the income at

the expense of its customers.

  IV. Plaintiﬀ’s Claim for Declaratory Judgment

        A. Plaintiﬀ Has a Claim Under the Federal Declaratory Judgment Act

            1. Declaratory judgment is an available remedy in this case

        Under the Declaratory Judgment Act, a court may, “[i]n a case of actual controversy within

its jurisdiction, . . . declare the rights and other legal relations of any interested party seeking such

declaration, whether or not further relief is or could be sought.” 28 U.S.C. §2201(a). LATAM

asserts that “Counts II, III and IV of the Complaint fail as a matter of law,” precluding a declaratory

relief on the basis of these claims. Mem., p.10. However, the opposite is also true. If any of TM




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Solutions’ substantive claims survive this motion to dismiss, so does the declaratory relief claim.

       LATAM challenges TM Solutions’ claim for declaratory relief, claiming that TM Solutions

“does not explain” what laws make its No-Show Policy void, unenforceable, and unconscionable.

Id. je Complaint, however, is clear as to what laws LATAM has violated by its enforcement of

its No-Show Policy. See Counts II-IV. As TM Solutions has suﬃciently pleaded substantial causes

of action, declaratory judgment is available as a remedy in this case.

           2. 6e facts alleged warrant issuance of a declaratory judgment

       LATAM argues “there would be no beneﬁt to Plaintiﬀ in obtaining a declaratory judgment”

because it “is now fully aware of LATAM’s No-Show Policy, and will not again be in a position

where it is ignorant of the risk that missing an outbound ﬂight will result in the cancellation of a

return ﬂight.” Mem., p.11. TM Solutions’ awareness of the No-Show Policy, however, does not

foreclose the possibility that it will be harmed by it again. As exempliﬁed above, a consumer—

through no fault of his own—may miss his outbound ﬂight due to a traﬃc accident and have his

return ﬂight cancelled, regardless of his “awareness” of the policy.

       LATAM also claims that the relief TM Solutions seeks “constitutes redress for past alleged

harm, rather than a safeguard against potential future harm.” Id., pp.11-12. jat is patently not the

case. TM Solutions has brought this lawsuit as a class action. LATAM did not stop enforcing its

No-Show Policy when TM Solutions was harmed. jis very moment, there are consumers being

harmed by LATAM’s unfair practices. Absent a declaration from the Court that LATAM’s No-

Show Policy is unenforceable, consumers will continue being harmed. Clearly, monetary damages

alone are not suﬃcient to prevent these injuries. Nor would declaratory judgment be “superﬂuous,”

as argued by LATAM, but crucial to “remove uncertainty and insecurity from legal relationships

without awaiting violation of rights or disturbance of relationships.” In re Allied Artists Pictures




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Corp., 71 B.R. 445, 448 (S.D.N.Y. 1987).

           3. 6e Court should exercise its discretion to grant declaratory relief

       LATAM asks that the Court, in its discretion, dismiss TM Solutions’ declaratory judgment

action. Mem., p.12. LATAM claims that “Plaintiﬀ’s request for declaratory judgment speciﬁcally

seeks to have the Court rewrite LATAM’s Transport Agreement.” Id. TM Solutions is not asking

the Court to rewrite the Transport Agreement, but to declare what the rights of TM Solutions and

other class members are in the face of an arguably illegal provision in the Transport Agreement.

Compl., ¶43. LATAM again argues that TM Solutions “is not attempting to avoid the accrual of

damages” because “[t]he alleged damages have already occurred.” Mem., pp.12-13. However, as

stated above, TM Solutions has brought this case as a putative class action and is seeking redress

not only for its own damages but to prevent future damages to consumers. je Court, then, should

exercise its discretion and allow TM Solutions to maintain its claim for declaratory judgment.

       B. Plaintiﬀ’s Claim for Declaratory Relief Is Not Preempted

       LATAM asserts that “litigants cannot use state laws, including common law principles of

unconscionability, as a way to impose additional burdens on airlines beyond existing contractual

terms.” Mem., p.13. However, for a law to be preempted by the ADA, it must relate to an airline’s

rates, routes, or services, “either by expressly referring to them or by having a signiﬁcant economic

eﬀect upon them.” Travel All Over the World, Inc. v. Kingdom of Saudi Arabia, 73 F.3d 1423,

1432 (7th Cir. 1996). Here, it is clear that the law of unconscionability does not explicitly address

LATAM’s rates or services.

       Consequently, “the only possible basis for preemption is if [the law] has a suﬃcient—i.e.,

signiﬁcant—impact on those [rates or] services.” Branche v. AirTran Airways, Inc., 342 F.3d 1248,

1255 (11th Cir. 2003). As mentioned above, LATAM does not elucidate how requiring it to honor




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the tickets it issues would aﬀect, if at all, the rates it charges or the services it provides. In fact, not

only would LATAM not lose money if it honored the tickets for which it was already paid, but

LATAM actually would save money in fuel costs if a consumer paid but did not ﬂy.

         jis fact is well known in the aviation industry. For example, in 1987, American Airlines

“removed a single olive from each of its in-ﬂight salads,” reducing costs by a remarkable $40,000

a year.4 In 2008, Northwest Airlines saved $500,000 a year “by slicing its limes . . . into 16 slices

instead of 10,” thereby carrying less citrus. Id. When United Airlines started printing its in-ﬂight

magazine on lighter paper, cutting 28 grams per copy, it saved $300,000 a year. Id. Undoubtedly,

not carrying the weight of a human being would result in signiﬁcant savings and could not possibly

adversely aﬀect LATAM’s fares.

         C. Plaintiﬀ Has Pleaded Suﬃcient Facts to Show Unconscionability

         Unconscionability is a doctrine that courts use to “prevent the enforcement of contractual

provisions that are overreaches by one party to gain an unjust and undeserved advantage.” Basulto

v. Hialeah Auto., 141 So.3d 1145, 1157 (Fla. 2014). Unconscionability has been said to include

“an absence of meaningful choice on the part of one of the parties together with contract terms

which are unreasonably favorable to the other party.” Id. While both procedural and substantive

unconscionability must be present in order for a court to decline to enforce a contract provision,

“they need not be present to the same degree.” FI-Pompano Rehab, LLC v. Irving, 221 So.3d 781,

784 (Fla. Dist. Ct. App. 2017).

         Procedural unconscionability relates to “the manner in which a contract is entered, and

courts determine whether it exists based on a totality of the circumstances.” Hobby Lobby Stores,

Inc. v. Cole, 287 So.3d 1272, 1275 (Fla. Dist. Ct. App. 2020). je central question is “whether the


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 Hugh Morris, Airline Weight Reduction to Save Fuel, Traveller (Sept. 4, 2018), https://www.traveller.com.au/airline-
weight-reduction-to-save-fuel-the-crazy-ways-airlines-save-weight-on-planes-h14vlh.


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complaining party lacked a meaningful choice when entering into the contract.” Id. In answering

this, courts usually consider: “(1) the manner in which the contract was entered into; (2) the relative

bargaining power of the parties and whether the complaining party had a meaningful choice at the

time the contract was entered into; (3) whether the terms were merely presented on a ‘take-it-or-

leave-it’ basis; and (4) the complaining party’s ability and opportunity to understand the disputed

terms of the contract.” Pendergast v. Sprint Nextel Corp., 592 F.3d 1119, 1135 (11th Cir. 2010).

       LATAM argues its No-Show Policy was not procedurally unconscionable because it was

allegedly “clearly disclosed in LATAM’s Transport Agreement.” Mem., p.14. jis is contradicted

by LATAM itself. Id., pp.8-9 (“It is clearly disclosed in LATAM’s Transport Agreement, which

customers receive notice of upon purchase of the ticket”). LATAM’s own admission reveals that

it does not give notice to its customers of the terms of the Transport Agreement, including the No-

Show Policy, until after customers have paid for their ﬂights. jere is no dispute about the disparity

in bargaining power between LATAM and its customers. jere is also no dispute that LATAM’s

Transport Agreement is presented on a “take-it-or-leave-it” basis. Because customers are not given

notice of the terms of the Transport Agreement until after they are bound by said terms, customers

are not aﬀorded an opportunity to understand the No-Show Policy before paying for their ﬂights.

All these facts favor a ﬁnding that the No-Show Policy is procedurally unconscionable.

       Substantive unconscionability, on the other hand, can generally be established by showing

that “the terms of the contract are unreasonable and unfair.” Powertel, Inc. v. Bexley, 743 So.2d

570, 574 (Fla. Dist. Ct. App. 1999). As mentioned above, LATAM gouges the price for changing

ﬂights in such a way that forces consumers to purchase ﬂights with other airlines when they cannot

make one leg of their roundtrip reservation. Compl., ¶68. When consumers miss one segment of

their roundtrip reservation, LATAM cancels the entire reservation. Id., ¶71. LATAM then resells




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ﬂights that were already paid for by the class members and that the class members intended to use.

Id., ¶69. je only party that beneﬁts from the No-Show Policy is LATAM.

       LATAM claims that TM Solutions was not “forced into buying tickets with LATAM.”

Mem., p.14. However, LATAM puts customers in the unfair position of choosing between paying

thousands of dollars to modify their itineraries or else lose the tickets they have already paid for

under the No-Show Policy. Compl., ¶¶13, 21. LATAM claims this is not “so outrageously unfair

as to shock the judicial conscience.” Mem., p.14. At least one judge disagrees. See Catullo, 2009

WL 1054150, at *1 (“jeir tickets were cancelled not only for the departure to Italy but also for

the return ﬂight, the logic of which the court ﬁnds to be incomprehensible.”).

 V.    Plaintiﬀ’s Adversary Proceeding Is Proper

       A. Plaintiﬀ’s Claims Can Be Brought as Adversary Proceeding

       je bankruptcy rules classify ten types of disputes as adversary proceedings. See Fed. R.

Bankr. P. 7001. “Where a dispute ﬁts into one of these ten categories, an adversary proceeding is

both the appropriate and preferred manner to proceed.” In re TSC Glob., LLC, 2013 WL 6502168,

at *3 (Bankr. D. Del. June 26, 2013).

       LATAM argues that TM Solutions’ adversary proceeding must be dismissed because it

“simply reasserts the allegations in a prepetition action to assert claims for prepetition damages

against LATAM.” Mem., p.15. However, TM Solutions’ claims for relief are not only for monetary

damages, nor are they based solely on LATAM’s past conduct.TM Solutions also seeks equitable

relief. Such claims are proper under Rule 7001(7), allowing “a proceeding to obtain an injunction

or other equitable relief,” and Rule 7001(9), which allows “a proceeding to obtain a declaratory

judgment.” Fed. R. Bankr. P. 7001(7), (9).

       LATAM alleges that TM Solutions’ claims against it “unquestionably arose prior to the




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petition date.” Mem., p.15. However, TM Solutions has brought this proceeding as a class action

seeking to protect the legal rights not only of customers that have been harmed in the past, but also

of those who are being presently harmed and will continue to be harmed by LATAM absent an

injunction from the Court. LATAM did not stop enforcing its No-Show Policy when TM Solutions

was harmed, nor when TM Solutions ﬁrst brought these claims in the Southern District of Florida,

nor when it ﬁled a proof of claim. Indeed, LATAM’s failure to stop harming consumers even after

TM Solutions ﬁled a proof of claim demonstrates the inadequacy of the process in this particular

case and the necessity to maintain this adversary proceeding.

        B. Plaintiﬀ’s Claims for Equitable Relief Under Rule 7001

        Under Rule 7001(7), TM Solutions may maintain “a proceeding to obtain an injunction or

other equitable relief.” Fed. R. Bankr. P. 7001(7). LATAM contends that TM Solutions “does not

have standing to seek injunctive relief” because it is “aware of LATAM’s No-Show Policy and

can choose whether to purchase LATAM tickets and, if purchased, board its outgoing ﬂights.”

Mem., p.16. However, as mentioned before, a consumer may miss his outbound ﬂight and have

his return ﬂight cancelled, regardless of his “awareness” of the No-Show Policy. LATAM’s

position would force consumers to choose between never buying tickets with LATAM again or

buy them at their own peril. jis only reinforces the need for injunctive relief.

        Moreover, LATAM’s argument is contradicted by the plain language of FDUTPA, which

states that “anyone aggrieved by a violation of this part may bring an action to obtain a declaratory

judgment that an act or practice violates this part and to enjoin a person who has violated, is

violating, or is otherwise likely to violate this part.” Fla. Stat. §501.211(1). “Nothing in the statute

requires proof that the declaratory or injunctive relief would beneﬁt the consumer ﬁling the suit.”

Davis v. Powertel, Inc., 776 So.2d 971, 975 (Fla. Dist. Ct. App. 2000). jerefore, “an aggrieved




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party may pursue a claim for declaratory or injunctive relief under the Act, even if the eﬀect of

those remedies would be limited to the protection of consumers who have not yet been harmed by

the unlawful trade practice.” Id. Adopting LATAM’s position “would remove these important

consumer protection tools while providing none of the beneﬁts the standing doctrine is meant to

protect.” In re Amla Litig., 282 F. Supp. 3d 751, 770 (S.D.N.Y. 2017).

         Under Rule 7001(9), TM Solutions may also maintain “a proceeding to obtain a declaratory

judgment relating to [a proceeding to obtain an injunction or other equitable relief].” Fed. R. Bankr.

P. 7001(9). Since TM Solutions has standing to pursue injunctive relief under Rule 7001(7) for the

reasons stated above, it can also sustain an adversary proceeding under Rule 7001(9).

         LATAM contends that the “proper procedure” for resolving TM Solutions’ claims is the

proof of claim process, alleging it is a “more eﬀective and eﬃcient means for addressing Plaintiﬀ’s

claims.” Mem., pp.17-18. However, this is contradicted by the fact LATAM continues to enforce

its No-Show Policy, even after TM Solutions ﬁled a proof of claim. A declaratory judgment that

the No-Show Policy is unenforceable and an injunction stopping LATAM from enforcing the same

are the only eﬀective means of preventing LATAM from harming consumers.

         C. Plaintiﬀ’s Request for Class Relief

         LATAM argues that “[t]he appropriate procedure for Plaintiﬀ to seek class-wide relief

remains the proof of claim process.” Mem., p.18. LATAM asserts that Rule 9014, which governs

contested matters, “authorizes class proofs of claim.” Id. However, the availability of class relief

in contested matters is irrelevant when TM Solutions appropriately brought its claims through an

adversary proceeding.5 Cf. In re Briggs, 143 B.R. 438, 462 (Bankr. E.D. Mich. 1992) (“A request



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  Moreover, class relief in contested matters is not automatic but in the court’s discretion. While Rule 9014 expressly
incorporates many of the individual rules comprising Part VII of the Federal Bankruptcy Rules, it omits Rule 7023,
which governs class actions. See Fed. R. Bankr. P. 9014(c).


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for an injunction must be made in an adversary proceeding. jus, it was inappropriate for the

Debtor to seek that relief in a contested matter such as this.”).

       LATAM alleges that “the proposed class action would not be certiﬁable under Bankruptcy

Rule 7023 and Federal Rule 23.” Mem., p.19. LATAM “has not cited to any authority suggesting

the motion to dismiss stage is the proper point for the Court to consider whether a plaintiﬀ class

should be certiﬁed in an adversary proceeding.” In re Dewey & LeBoeuf LLP, 487 B.R. 169, 179

(Bankr. S.D.N.Y. 2013). Nonetheless, we will discuss the issues raised by LATAM in this regard.

           1. Commonality and Predominance

       To satisfy the commonality requirement, “plaintiﬀs need to establish that there are common

questions of law and fact to the class.” Trautz v. Weisman, 846 F. Supp. 1160, 1166 (S.D.N.Y.

1994). “A single common question may be suﬃcient to satisfy the commonality requirement.” In

re Initial Pub. Oﬀering Sec. Litig., 243 F.R.D. 79, 84-85 (S.D.N.Y. 2007). “je critical inquiry is

whether the common questions are at the core of the cause of action alleged.” Id. Predominance

will be established if “resolution of some of the legal or factual questions that qualify each class

member’s case as a genuine controversy can be achieved through generalized proof, and if these

particular issues are more substantial than the issues subject only to individualized proof.” In re

WorldCom, Inc. Sec. Litig., 219 F.R.D. 267, 287-88 (S.D.N.Y. 2003).

       TM Solutions has identiﬁed several questions common to all class members, including:

whether LATAM’s No-Show Policy unjustly enriches it; whether LATAM breached its contracts

with the class members when it did not provide ﬂights for which it had already received payment;

whether LATAM’s No-Show Policy is unconscionable; whether LATAM should be required to

obtain consent before cancelling the class members’ already-purchased ﬂights; and whether

LATAM’s No-Show Policy is unfair and/or deceptive. Compl., ¶33.




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       LATAM raises several hypothetical variants to “destroy commonality and predominance.”

Mem., p.20. In reality, these so-called factual diﬀerences have no bearing on the case. For example,

whether putative class members “purchased diﬀerent kinds of tickets,” “from diﬀerent sellers,”

“for trips with diﬀerent numbers of segments” is irrelevant. Id. If a customer misses his outbound

ﬂight, LATAM will cancel his return ﬂight whether he has a non-refundable economy-class ticket

or a refundable ﬁrst-class ticket; whether he bought the tickets directly from LATAM or through

a third party; or whether his trip included two or twenty segments—LATAM will cancel them all.

       LATAM’s other “variances” also do not destroy commonality and predominance. First,

“the reason for the ﬂight cancellation” is always the same, LATAM’s No-Show Policy. Whether

a customer “bought a replacement ﬂight and how much it cost” and whether he “has received any

refund” may be relevant to a determination of individual damages. However, “it is well-established

that the fact that damages may have to be ascertained on an individual basis is not suﬃcient to

defeat class certiﬁcation.” Seijas v. Republic of Argentina, 606 F.3d 53, 58 (2d Cir. 2010). Finally,

“whether the customer has previously had tickets cancelled pursuant to LATAM’s No-Show

Policy or an equivalent policy of one of several other airlines” is an unnecessary inquiry because

all customers are subject to the No-Show Policy, regardless of their awareness of it.

       2. Typicality

       LATAM argues that TM Solutions “will be unable to show typicality, in that the class

members’ claims will not have arisen from the same course of events.” Mem., p.21. However,

typicality “does not require that the factual background of each named plaintiﬀ’s case be identical

to that of all class members; rather it requires that the disputed issue of law or fact occupy

essentially the same degree of centrality to the named plaintiﬀ’s claim as to that of other members

of the proposed class.” Velez v. Novartis Pharm. Corp., 244 F.R.D. 243, 267 (S.D.N.Y. 2007).




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jus, “the typicality requirement may be satisﬁed even if there are factual dissimilarities or

variations between the claims of the named plaintiﬀs and those of other class members, including

distinctions in the qualiﬁcations of the class members.” Bishop v. New York City Dep’t of Hous.

Pres. & Dev., 141 F.R.D. 229, 238 (S.D.N.Y. 1992).

       LATAM asserts that TM Solutions’ claims will not be typical of the class members claims

because it “purchased two-segment tickets through a third party, as well as that it informed the

airline that it was not planning on taking its outbound ﬂights, and that it purchased replacement

ﬂights on another airline.” Mem., p.21. As mentioned above, if a customer misses his outbound

ﬂight, LATAM will cancel his return ﬂight whether he purchased two-segment or twenty-segment

tickets and whether he bought the tickets directly from LATAM or through a third party. Similarly,

LATAM will enforce its No-Show Policy whether or not the customer informs LATAM of his

inability to board the outbound ﬂight. Whether the customer purchased replacement ﬂights on

another airline may be relevant to a determination of damages. However, “a diﬀerence in damages

arising from a disparity in injuries among the plaintiﬀ class does not preclude typicality.” Lemire

v. Wolpoﬀ & Abramson, LLP, 256 F.R.D. 321, 327 (D. Conn. 2009).

       3. Superiority

       LATAM argues that superiority is not found because “the bankruptcy claims process is

available to Plaintiﬀ (including for its purported class claims).” Mem., p.21. However, the ability

to ﬁle a proof of claim against LATAM does not make that process preferable to an adversary

proceeding for resolving the class claims in this case, especially when LATAM will likely object

to a class proof of claim. See In re Taylor Bean & Whitaker Mortg. Corp., 2010 WL 4025873, at

*3 (Bankr. M.D. Fla. Sept. 27, 2010) (“TBW has expressed opposition to the WARN Act claims

and likely will defend against them whether in the claims process or through this adversary




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proceeding. Given the size of the class involved, the Court ﬁnds that resolving the WARN Act

claims collectively through a class action adversary proceeding will be more eﬃcient than handling

them in a piece-meal fashion through the claims process.”). Other factors favoring the resolution

of class claims in this case in an adversary proceeding are the “relatively small nature of [the]

individual claims” and the fact that the “class members are spread out in several states and would

likely suﬀer geographical hardship if required to defend their claims individually.” Id. at *4.

       LATAM also argues that the Court “may ﬁnd the superiority requirement not satisﬁed

where there are serious concerns about the manageability of a class action.” Mem., p.21. LATAM

contends this is the case here “given all the potential intra-class diﬀerences.” Id. However, as

discussed above, these “diﬀerences” are in reality not relevant to the class certiﬁcation inquiry.

When considering manageability issues, the Court is “not assessing whether this class action will

create signiﬁcant management problems, but instead determining whether it will create relatively

more management problems than any of the alternatives.” Williams v. Mohawk Indus., Inc., 568

F.3d 1350, 1358 (11th Cir. 2009). LATAM has not shown—and cannot show—how litigating

hundreds, if not thousands, of contested matters in the claims process would be more manageable

than litigating a single class action adversary proceeding.

       4. TM Solutions’ state law claims

       LATAM argues that TM Solutions “fails to suﬃciently plead that the standards of the

various states’ unjust enrichment cause of action are similar enough that multistate class treatment

would be appropriate.” Mem., p.22. However, TM Solutions does allege that “there are no true

conﬂicts (i.e., case-dispositive diﬀerences) among the various states’ unjust enrichment laws.”

Compl., ¶58. Contrary to LATAM’s argument, there is no requirement that TM Solutions must

include a detailed legal analysis of the diﬀerences between the relevant states’ unjust enrichment




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laws in its Complaint. je cases cited by LATAM all dealt with deﬁciencies in papers ﬁled in

connection to motions for class certiﬁcation. See Vulcan Golf, LLC v. Google Inc., 254 F.R.D. 521,

532 (N.D. Ill. 2008) (insuﬃcient discussion in reply brief); Yarger v. ING Bank, 285 F.R.D. 308,

324 (D. Del. 2012) (no analysis in brief requested by the court).

       In this case, “the variations among some States’ unjust enrichment laws do not signiﬁcantly

alter the central issue or the manner of proof.” In re Abbott Labs. Norvir Anti-Tr. Litig., 2007 WL

1689899, at *9 (N.D. Cal. June 11, 2007). jerefore, the “idiosyncratic diﬀerences” between state

unjust enrichment laws “are not suﬃciently substantive to predominate over the shared claims.”

Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022-23 (9th Cir. 1998).

       With regard to TM Solutions’ FDUTPA claim, LATAM states that “the claim cannot be

brought on behalf of the multistate class and must be restricted to a Florida subclass.” Mem., p.22.

TM Solution agrees that its FDUTPA claim should be certiﬁed on behalf of a Florida subclass.

       D. Plaintiﬀ’s Adversary Proceeding Does Not Undermine the Automatic Stay

       LATAM argues that allowing TM Solutions’ claims to move forward with this adversary

proceeding would undermine the automatic stay. LATAM claims “[i]t would be unfair to other

claimants to allow Plaintiﬀ’s claims to proceed in an adversary proceeding.” Mem., p.23. LATAM

does not explain how allowing TM Solutions to maintain an adversary proceeding that is proper

under the rules (for the reasons set forth above) would prejudice other creditors. LATAM also

claims it would “open the ﬂoodgates to other potential plaintiﬀs.” However, LATAM has not

identiﬁed who these hypothetical potential plaintiﬀs are. Moreover, a decision in this case would

not stop other potential plaintiﬀs from bringing their own adversary proceedings if they are

permissible under the rules. LATAM’s position that TM Solutions should not be allowed to assert

its rights in an adversary proceeding because it would invite other parties harmed by LATAM to




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do the same is clearly indefensible.

           “je automatic stay does not prevent adversary proceedings against the debtor in the

bankruptcy court where the debtor’s bankruptcy is pending.” In re N. Coast Vill., Ltd., 135 B.R.

641, 644 (B.A.P. 9th Cir. 1992). LATAM argues that the adversary proceeding must be dismissed

as procedurally improper, as “Plaintiﬀ commenced this adversary proceeding to assert prepetition

claims.” Mem., p.24. However, as mentioned above, TM Solutions seeks equitable relief and its

claims are not based solely on LATAM’s past conduct. TM Solutions’ claims are thus proper under

Rule 7001 and not in violation of the automatic stay.

    VI. Plaintiﬀ Is Not Bound to Arbitrate Its Claims

           Because the right to compel arbitration is contractual in nature, “[a]n entity that is neither

a party to nor agent for nor beneﬁciary of the contract lacks standing to compel arbitration.” Britton

v. Co-op Banking Grp., 4 F.3d 742, 744 (9th Cir. 1993). LATAM claims that as a “third-party

beneﬁciary” of BudgetAir’s Terms and Conditions, it is entitled to enforce an arbitration provision

found therein. However, “[a] putative third party’s rights under a contract are predicated upon the

contracting parties’ intent to beneﬁt him.” Garcia v. Truck Ins. Exch., 36 Cal. 3d 426, 436, 682

P.2d 1100, 1104 (1984).

           Here, there is no evidence that LATAM was an intended beneﬁciary of the contract. Indeed,

the contract is clear that BudgetAir’s liability does not extend to suppliers such as LATAM. See

Ex. C,6 p.4 (“Budgetair.com and Budgetair.com’s aﬃliates and partners have no liability and will

make no refund in the event of any delay or cancellation of the Travel Product purchased through

the Services, and they have no responsibility for any additional expenses incurred by you

associated with the delay or cancellation.”).



6
    Exhibit C to the Declaration of Jessica Roll in support of LATAM’s Motion to Dismiss [ECF 9-3].


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       Moreover, “[f]or a nonsignatory to invoke an arbitration provision in an agreement based

on a third-party beneﬁciary theory, the nonsignatory beneﬁciary ﬁrst must establish the agreement

was applicable to the controversy.” Jones v. Jacobson, 195 Cal. App. 4th 1, 22, 125 Cal. Rptr. 3d

522, 539-40 (2011). Here, the arbitration clause at issue simply does not apply.

       Under BudgetAir’s Terms and Conditions, customers agree to arbitrate “any dispute, claim

or controversy arising out of or relating to . . . the breach, termination, enforcement, interpretation

or validity thereof or the use of the Services.” Ex. C, p.7. “Services,” for purposed of this contract,

does not mean the services provided by suppliers like LATAM, but the “services accessible via

[BudgetAir’s] Site or [BudgetAir’s] call center.” Id., p.1. LATAM’s cancellation of return ﬂights

is simply outside the scope of this agreement. Because LATAM is not an intended beneﬁciary of

the contract, and in any case the contract would not be applicable to this dispute, LATAM cannot

compel TM Solutions to arbitrate its claims against LATAM.

                                          CONCLUSION

       WHEREFORE, Plaintiﬀ TM Solutions USA LLC respectfully requests this Court to enter

an Order denying Defendant LATAM Airlines Group S.A.’s Motion to Dismiss the Class Action

Complaint in its entirety.

Dated: October 6, 2020
                                                       Respectfully submitted,

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